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      Thimes Solutions Inc.
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 11
                           UNITED STATES DISTRICT COURT
 12
                         CENTRAL DISTRICT OF CALIFORNIA
 13
                                   WESTERN DIVISION
 14
 15    THIMES SOLUTIONS INC.                Case No. 2:19-CV-10374-SB-E
 16                       Plaintiffs,       REPLY IN SUPPORT OF THIMES
                                            SOLUTIONS INC.’S MOTION TO
 17          v.                             STRIKE PARAGRAPH 9 OF TP-
 18                                         LINK USA CORPORATION’S
       TP-LINK USA CORPORATION,             COUNTERCLAIM
       and AUCTION BROTHERS, INC.
 19
       d/b/a AMAZZIA                        Date:      July 15, 2022
 20
                          Defendant.        Time:      8:30 am
                                            Courtroom: 6C
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                                                            REPLY ISO MOTION TO STRIKE
                                                            CASE NO. 2:19-CV-10374-SB-EX
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  1            TP-Link’s opposition confirms that it is appropriate for the Court to strike
  2   paragraph 9 of TP-Link’s counterclaim as immaterial and impertinent under Rule
  3   12(f).
  4            Thimes’s opening brief showed that the allegations in paragraph 9 “have no
  5   possible bearing” on TP-Link’s counterclaim—the unproven accusations that
  6   Thimes’s founder Avi Eisenberg had purportedly defrauded investors in an
  7   unrelated cryptocurrency scheme bear no relation to Thimes, TP-Link, the TP-Link
  8   branded wireless router products, or TP-Link’s trademark(s) at issue in this case.
  9   See Mot. 1, 3. Thimes likewise noted the lack of authority suggesting how
 10   unproven accusations in an unrelated matter levied against the founder of an alleged
 11   trademark infringer are relevant to determining the Sleekcraft factors. Id. at 3.
 12            TP-Link doesn’t dispute these points. See Opp. Its only response is that
 13   “Mr. Eisenberg’s reputation—in conjunction with Thimes’s use of the TP-Link’s
 14   mark—is relevant to TP-Link’s potential damages sustained as a result of Thimes’s
 15   violation of TP-Link’s intellectual property rights.” Id. at 1; at 2 (“Mr. Eisenberg’s
 16   negative reputation as the Founder and President of Thimes is relevant to the harm
 17   to TP-Link’s business reputation and loss of goodwill, as Mr. Eisenberg and
 18   Thimes affiliated themselves with TP-Link in order to sell TP-Link products.”); at 3
 19   (“Paragraph 9 relates to injury to TP-Link’s reputation and goodwill.”) This
 20   contention betrays the weakness of TP-Link’s position, and underscores Thimes’s
 21   point that TP-Link included the allegations to smear Mr. Eisenberg. Mot. at 1, 4.
 22            Setting aside the fact that the allegations in paragraph 9 are (1) based only on
 23   information and belief, (2) cut-and-pasted from a blog, and (3) concern unproven
 24   accusations (4) by unknown individuals, TP-Link fails to explain how the purported
 25   fraud Mr. Eisenberg carried out “during the period of December 2021 to April
 26   2022” (Counterclaim (ECF No. 175) ¶ 9) could have any “possible bearing” on
 27   “TP-Link’s reputation and goodwill” during the first six months of 2018, the period
 28   of time in which Thimes purportedly infringed on TP-Link’s mark when selling
                                                                      REPLY ISO MOTION TO STRIKE
                                                  -1-                 CASE NO. 2:19-CV-10374-SB-EX
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  1   products on the Amazon Marketplace. Nor does TP-Link articulate how consumers
  2   looking to purchase TP-Link products in 2018 could somehow be influenced by
  3   “Mr. Eisenberg’s negative reputation” (Opp. at 2) based on conduct that he did not
  4   allegedly commit until four years later in December 2021. TP-Link’s position is
  5   untenable.
  6         Cherry-picking one sentence from SST Sterling Swiss Trust 1987 AG v. New
  7   Line Cinema, Corporation, TP-Link next contends that striking paragraph 9 is
  8   improper because “rights of publicity allegations are most properly construed as a
  9   claim for damages” and “[p]aragraph 9 relates to TP-Link’s claim for damages.”
 10   Opp. at 3 (citing No. 05-CV-2835 DSF (VBKx), 2005 WL 6141290, at *5 (C.D.
 11   Cal. Oct. 31, 2005)). TP-Link’s reliance on SST Sterling misses the mark. Judge
 12   Fischer denied a motion to strike allegations that defendants fraudulently induced
 13   plaintiff to grant the right to use his name and likeness, finding the allegations
 14   relevant because damages is an element of the fraudulent inducement claim and the
 15   “discussion of the allegedly fraudulent conveyance of publicity rights pursuant to
 16   the Agreement is more properly construed as a request for damages.” 2005 WL
 17   6141290, at *3, n.2. The allegations at issue there concerned plaintiff’s detrimental
 18   reliance—which occurred contemporaneously with defendants’ fraudulent
 19   representations—and thus relevant to the issue of damages. Here, in contrast, the
 20   allegations in paragraph 9 concern a scheme Mr. Eisenberg purportedly carried out
 21   almost four years after Thimes’s alleged infringement of TP-Link’s mark. TP-Link
 22   does not explain—because it cannot—how Mr. Eisenberg’s conduct vis-à-vis
 23   FortressDAO in 2022 could impact “TP-Link’s claim for damages” for Thimes’s
 24   alleged trademark infringement in 2018. SST Sterling is inapposite.
 25         TP-Link’s opposition shows that the allegations in paragraph 9 “have no
 26   possible bearing on the subject matter of the litigation,” and that TP-Link included
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 28   \\\
                                                                     REPLY ISO MOTION TO STRIKE
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  1   them to in an attempt sidestep evidentiary rules restricting the use of character
  2   evidence. The Court should strike them under Rule 12(f). Golz v. Am. Income Life
  3   Ins. Co., No. 18-CV-9879-R, 2019 WL 8545845, at *1 (C.D. Cal. Apr. 2, 2019).
  4
  5   Dated: July 1, 2022                          GAW | POE LLP
  6                                                By:
                                                         Victor Meng
  7
  8                                                      Attorneys for Plaintiff
                                                         Thimes Solutions Inc.
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